4:15-cr-03041-JMG-CRZ    Doc # 116   Filed: 03/17/17   Page 1 of 4 - Page ID # 473




               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:15-CR-3041

vs.
                                                 TENTATIVE FINDINGS
MUSA J. HARRIS,

                 Defendant.

      The Court has received the revised presentence investigation report in
this case. The defendant has objected to the presentence report (filing 115)
and argues for a variation from the sentencing guidelines.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005) and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
4:15-cr-03041-JMG-CRZ        Doc # 116      Filed: 03/17/17    Page 2 of 4 - Page ID # 474




       (f)    in cases where a departure using pre-Booker departure theory is
              not warranted, deviate or vary from the Guidelines when there is
              a principled reason justifying a sentence different than that
              called for by application of the advisory Guidelines, again without
              affording the Guidelines any particular or "substantial" weight.

2.     The defendant has filed an objection (filing 115) to the presentence
       report, on several grounds. First, he objects to the base offense level,
       based on his assertion that the witness statements upon which the
       drug quantity calculation is premised are not credible. Filing 115 at 1.
       The Court will resolve that issue on the evidence presented at
       sentencing, remembering that the government bears the burden to
       prove drug quantity by a preponderance of the evidence. United States
       v. Young, 689 F.3d 941, 945 (8th Cir. 2012).

       Next, the defendant contends that he is safety valve eligible. Filing 115
       at 1. The presentence report indicates that the government is unaware
       of the defendant giving any statements to law enforcement to help him
       qualify for the safety valve. The Court will also resolve this matter at
       sentencing, but on this issue, the defendant has the burden to show
       affirmatively that he has satisfied each requirement for the safety
       value, including whether truthful information and evidence have been
       given to the government. United States v. Alvarado-Rivera, 412 F.3d
       942, 947 (8th Cir. 2005).1

       Next, the defendant argues that he is eligible for a two-level minor
       participant adjustment pursuant to U.S.S.G. § 3B1.2(b). Filing 115 at 2.
       A minor participant adjustment applies to a defendant who plays a part
       in committing the offense that makes him substantially less culpable
       than the average participant, but whose role could not be described as
       minimal. United States v. Durham, 836 F.3d 903, 911 (8th Cir. 2016).
       The presentence report indicates that there is no available information
       to suggest that the defendant's conduct warrants a role adjustment.

       The Court will resolve this issue at sentencing, considering the degree
       to which the defendant understood the scope and structure of the


1 The Court also notes that the safety valve is available so long as the government receives

the information no later than the time of the sentencing hearing, even if a defendant's last-
minute move to cooperate is a complete about-face. Deltoro-Aguilera v. United States, 625
F.3d 434, 437 n.3 (8th Cir. 2010); see also, United States v. Morones, 181 F.3d 888, 891 (8th
Cir. 1999); United States v. Tournier, 171 F. 3d 645, 646-47 (8th Cir. 1999).


                                            -2-
4:15-cr-03041-JMG-CRZ   Doc # 116   Filed: 03/17/17   Page 3 of 4 - Page ID # 475




     criminal activity; the degree to which the defendant participated in
     planning or organizing the criminal activity; the degree to which the
     defendant exercised decision-making authority or influenced the
     exercise of decision-making authority; the nature and extent of the
     defendant's participation in the commission of the criminal activity,
     including the acts the defendant performed and the responsibility and
     discretion the defendant had in performing those acts; and the degree
     to which the defendant stood to benefit from the criminal activity. Id.,
     cmt. n.3(C). And the defendant bears the burden of establishing his
     entitlement to a minor-role reduction. Durham, 836 F.3d at 911.

     Finally, the defendant argues that "based upon the totality of the
     circumstances, a variation from the guidelines is appropriate." Filing
     115 at 2. The Court will consider this at sentencing, in determining the
     appropriate sentence pursuant to § 3553(a).

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.

4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.




                                    -3-
4:15-cr-03041-JMG-CRZ   Doc # 116   Filed: 03/17/17   Page 4 of 4 - Page ID # 476




     Dated this 17th day of March, 2017.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




                                    -4-
